                     Case 1:20-cr-00135-JMF Document 268 Filed 11/05/20 Page 1 of 1

                                                              Esere J. Onaodowan, Esq.
                                                             eonaodowan@eocdlaw.com                   . .                  . .
                                                                                                t 646 375 2119 c 718 427 3139
                                                              46
                                                               375 2119
                                                             Christine E. Delince, Esq.
                                                             cdelince@eocdlaw.com                     . .
                                                                                                t 646 375 2117             . .
                                                                                                                     c 917 238 9332



                                                                                                 November 2, 2020
Via ECF

Hon. Jesse M. Furman
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007


Re: U.S. v. Baranco (JMF)
20 Cr. 135


Dear Judge Furman,

        I write on behalf of myself and the government. The parties agree that there should be a virtual appearance in this

matter, and that a virtual proceeding is permitted by law. Defense Counsel and Mr. Baranco will appear together using her

office computer. However, defense counsel is not available on November 17. The parties are available on November 12th

and November 13th at any time, and on November 19th before 3PM.


                                                                                                 Respectfully Submitted,


                                                                                                 __________________
                                                                                                 Christine Delince, Esq.

cc: AUSA Harper
Application GRANTED. The hearing is hereby RESCHEDULED to November 19, 2020, at 10:00 a.m. Members
of the press and public may access the conference by calling 888-363-4749 and using access code 5421540#. That
line will be on listen-only mode that is, all callers will be muted. The Court will email different call-in instructions
to the parties in advance of the conference. The Clerk of Court is directed to terminate Doc. #263. SO ORDERED.




                                                     November 5, 2020




        116 West 23rd Street, 5th Fl, NY 10011 f 646 677 6918 w eocdlaw.com facebook.com/OnaodowanDelince twitter.com/OandDLaw
